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             EXHIBIT KK
2018.08.23 Incident Report filed with the
    Sommerville Police Department
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    Case2:21-cv-01412-ART-EJY
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                SOMERVILLE POLICE DEPARTMENT
                SOMERVILLE, MA
                INCIDENT # / REPORT #           OFFICER         RANK                REVIEW STATUS
                18050275 / 1                    DOTTIN D        PATROLMAN           APPROVED


 SEX CRIME - RESTRICTED ACCESS REPORT- AUTHORIZED PERSONNEL ONLY


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  INCIDENT #18050275 DATA
  As Of 12/04/2024 06:53:04



  BASIC INFORMATION

  CASE TITLE                             LOCATION                               APT/UNIT #
  SAGE H.                                445 ARTISAN WY

  DATE/TIME REPORTED                     DATE/TIME OCCURRED
  08/23/2018 11:57:43                    02/14/2017 00:00 to 08/23/2018 11:57

  INCIDENT TYPE(S)/OFFENSE(S)
  (265/22/A)RAPE c265 S22



  PERSONS

  ROLE                 NAME                                           SEX               RACE
  VICTIM               HUMPHRIES, SAGE                                FEMALE            WHITE


  WITNESS              RANDAZZO, ANTHONY


  WITNESS              STARK, PETER



  OFFENDERS

  STATUS             NAME                                               SEX              RACE
  SUSPECT            MOORE, MITCHELL TAYLOR                             MALE             WHITE
  SUSPECT            BUTTON, DUSTY                                      FEMALE           WHITE


[ NO VEHICLES ]

[ NO PROPERTY ]



  OFFICER REPORT: 18050275 - 1 / DOTTIN D (238)

  DATE/TIME OF REPORT                      TYPE OF REPORT                  REVIEW STATUS


  CONFIDENTIAL                                                                               PL-0003276

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  08/23/2018 13:33:51                     SEX CRIME                  APPROVED



  NARRATIVE

  On August 22nd, 2018, I was working as Investigator for the
  Somerville police department, assigned to the Family Services
  unit, when I received a Boston Police report (172068841)
  regarding several incidents that occurred in Somerville between
  March 2017 and August 2017.

  Based on the report, the victim, known to the Commonwealth,
  was involved with the married couple Moore and Button. During
  this relationship, victim states she was constantly and
  aggressively forced to smoke marijuana and drink excessive
  amounts of alcohol. She also alleged she was coerced into taking
  a shower with the two and was asked if she would be their
  "girlfriend". She reluctantly agreed. The victim states the couple
  became more and more aggressive and possessive regarding
  their joint relationship by escorting her everywhere she had to
  go, taking over some of her social media accounts and isolating
  her from family and friends.
  The victim states that she was sexually assaulted at both her
  home at the time (                             ) and the suspects'
  residence of                               .

  OFFICER SIGNATURES


  Reporting Officer:    __________________________________   Date:   _____________________
                        DOTTIN D                238
  Reviewing Officer:    __________________________________   Date:   _____________________
                        PERRONE, M              296
  Approving Officer:    __________________________________   Date:   _____________________
                        DIPAOLO, M              95120




  CONFIDENTIAL                                                                       PL-0003277

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                SOMERVILLE POLICE DEPARTMENT
                SOMERVILLE, MA
                INCIDENT # / REPORT #         OFFICER             RANK              REVIEW STATUS
                18050275 / 2                  PERRONE, M          LIEUTENANT        APPROVED


 SEX CRIME - RESTRICTED ACCESS REPORT- AUTHORIZED PERSONNEL ONLY



  INCIDENT #18050275 DATA
  As Of 12/04/2024 06:53:04



  BASIC INFORMATION

  CASE TITLE                             LOCATION                               APT/UNIT #
  SAGE H.                                445 ARTISAN WY

  DATE/TIME REPORTED                     DATE/TIME OCCURRED
  08/23/2018 11:57:43                    02/14/2017 00:00 to 08/23/2018 11:57

  INCIDENT TYPE(S)/OFFENSE(S)
  (265/22/A)RAPE c265 S22



  PERSONS

  ROLE                 NAME                                           SEX               RACE
  VICTIM               HUMPHRIES, SAGE                                FEMALE            WHITE


  WITNESS              RANDAZZO, ANTHONY


  WITNESS              STARK, PETER



  OFFENDERS

  STATUS             NAME                                               SEX              RACE
  SUSPECT            MOORE, MITCHELL TAYLOR                             MALE             WHITE
  SUSPECT            BUTTON, DUSTY                                      FEMALE           WHITE


[ NO VEHICLES ]

[ NO PROPERTY ]



  OFFICER REPORT: 18050275 - 2 / PERRONE, M (296)

  DATE/TIME OF REPORT                      TYPE OF REPORT                  REVIEW STATUS
  09/12/2018 15:51:39                      SUPPLEMENT                      APPROVED




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  NARRATIVE

  On Thursday, August 16, 2018, I was notified by ADA Nicole
  Allain of an alleged sexual assault on a victim named Ms. Sage
  Humpheries. ADA Allain sent me a Boston Police report that
  documented a disclosure Ms. Humpheries had made about the
  assault. When I learned that the incident had been reported to
  the Boston Police Department, I called and spoke with Detective
  Brendan Kelly who works in their Sexual Assault Unit. Detective
  Kelly provided me with a brief synopsis of the case over the
  telephone which was consistent with the report that I had
  received from ADA Allain. A significant portion of the activity
  Ms. Humpheries had described occurred in Somerville. Detective
  Kelly subsequently delivered an audio recorded interview to me
  which he had conducted with Ms. Humpheries on August 14,
  2017. I have submitted a disk containing that interview into
  evidence.

  On Wednesday, August 29, 2018, I was on duty and assigned as
  the Family Services Unit Supervisor. At approximately 5:45PM,
  Assistant District Attorney Ceara Mahoney, Victim Witness
  Advocate Joanne Szeto, Victim Witness Advocate Maureen
  DiPaolo and I met with Ms. Sage Humpheries to discuss the
  allegation. Ms. Humpheries alleged that her former co-worker
  and friend Ms. Dusty Button and her husband, Mr. Mitchell
  Taylor Moore, had manipulated and sexually assaulted her in
  2017 over an approximate three month period.

  Ms. Humpheries claimed that she first began to interact with Ms.
  Button and Mr. Moore in February of 2017 when she was
  eighteen years old. She said that Ms. Button was a principal
  dancer at the Boston Ballet where she also works. According to
  Ms. Humpheries, Ms. Button is a well known and famous figure
  in Ballet who she knew of before gaining employment with the
  Boston Ballet company. She recalled when she was a new dancer
  that Ms. Button would not even acknowledge her existence until
  she received a promotion. She also recalled that the entire Ballet

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  company was afraid of Ms. Button because of her fame. Ms.
  Humpheries said that she and Ms. Button began dancing
  together after she had received her contract from the Boston
  Ballet. Ms. Button apparently befriended Ms. Humpheries at
  that time and they exchanged telephone numbers.

  Ms. Humpheries recalled that her first social experience outside
  of work with Ms. Button and Mr. Moore occurred around
  February 14, 2017. She recalled this particular time frame
  because it was Valentine's day and she had recently broken up
  with a boyfriend. Ms. Humpheries said that she had told Ms.
  Button about her recent break up and Ms. Button was
  sympathetic toward her. This apparently prompted Ms. Button
  to invite Ms. Humpheries to her home at
                                       where she met Mr. Moore.
  Ms. Humpheries said that her social experience with Ms. Button
  and Mr. Moore initially seemed normal. The three of them
  would typically drink and smoke marijuana at the couple's home.
  Ms. Humpheries did say that it was always just her, Ms. Button
  and Mr. Moore when they would socialize. She also said that she
  would stay overnight at the couple's home when she would visit
  them. Initially, she would stay in the guest room.

  According to Ms. Humpheries, Ms. Button and Mr. Moore
  wanted to "hang out" with her everyday shortly after their first
  social experience. She recalled that Mr. Moore started to come
  to the ballet frequently which was not typical for a spouse. He
  would allegedly threaten the Boston Ballet's management with
  Ms. Button's resignation if he did not get what he wanted. Ms.
  Humpheries said that Mr. Moore would pressure her to "hang
  out" all of the time while he was at the ballet. She mentioned
  that Mr. Moore would also tell her to cut off all communication
  with her former boyfriend while he was around her place of
  work. Ms. Humpheries also claimed that Ms. Button and Mr.
  Moore would ridicule her for interacting with anyone else at the
  ballet and had convinced her that they were the only people who
  cared about her.

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  Ms. Humpheries described the first incident of sexual abuse as
  having occurred at Ms. Button and Mr. Moore's residence. She
  said that they spent the evening drinking and smoking marijuana
  in the apartment. At the end of the evening, Mr. Moore
  suggested that they have a "camp night". He brought a mattress
  into the living room and suggested that they all sleep together on
  the floor. Ms. Humpheries said that she initially told Ms. Button
  and Mr. Moore that she was going sleep in the guest bedroom.
  She claimed that Mr. Moore protested and shamed her by saying
  that she was "killing the vibe." According to Ms. Humpheries,
  Mr. Moore touched her under the covers after Ms. Button fell
  asleep. She claimed that she tried to push Mr. Moore's hand
  away but he began to use more force. She said that she was
  frozen with fear at that point.

  Ms. Humpheries, said that Mr. Moore eventually put his hand
  inside of her pants and digitally penetrated her. She claimed that
  she stopped resisting and allowed Mr. Moore to engage in this
  behavior for approximately 5-10 minutes. Ms. Humpheries said
  that Mr. Moore eventually thought she had an orgasm and
  stopped touching her. She said that she closed her eyes
  afterward and tried to forget what had happened. Ms.
  Humpheries stated that she eventually fell asleep and woke up to
  what she felt had been "the worst nightmare of her life."

  Ms. Humpheries claimed the trio would always sleep together
  after the first incident that involved sexual touching. She
  claimed that she began to notice that Ms. Button would often
  leave she and Mr. Moore alone on purpose. Ms. Humpheries
  said that Mr. Moore would advise her of certain dates when Ms.
  Button would be out of town. She realized that he wanted to
  engage in a sexual relationship but resisted his advances because
  he was married to her friend.

  Ms. Humpheries stated that around "spring break" she wanted to
  go visit her parents in California. Ms. Button and Mr. Moore

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  wanted to go with her so she invited them. She remembered
  calling in sick the night before the trip at the request of Ms.
  Button and Mr. Moore which caused her to get in trouble at
  work. She recalled receiving a phone call from ballet Director
  Peter Stark about not showing up.

  Ms. Humpheries recalled sitting in between Ms. Button and Mr.
  Moore on the plane to              . She said that she fell asleep
  briefly and woke up to Ms. Button and Mr. Moore each holding
  one of her hands. Ms. Humpheries said that she pretended to
  fall asleep again and overheard a conversation between Ms.
  Button and Mr. Moore. She said she heard Mr. Moore say,
  "We're really close, I think the next couple of days." She also
  heard Ms. Button respond by saying, "As long as you don't love
  her more than me."

  When they arrived in           , the group stayed with Ms.
  Humpheries parents at their home. Ms. Humpheries's said
  nothing happened on the first night but remembered that Ms.
  Button and Mr. Moore wanted all three of them to sleep in the
  same bed. She said that she refused at first and stayed in a
  separate room but eventually gave in and slept with her
  acquaintances because they were sending her harassing text
  messages. Ms. Humpheries remembered that they had called
  her "weak" in these text messages and insulted her.

  I asked Ms. Humpheries if anyone else knew that they had slept
  in the same room at her parents house. She said that her mother
  knew and had asked her if she was having a threesome. Ms.
  Humpheries said that she denied having a threesome to her
  mother. She also recalled that Ms. Button and Ms. Moore
  formed a relationship with her mother while they were there to
  curb her suspicion. Ms. Humpheries said that Mr. Moore and
  Ms. Button even obtained her mother's telephone number. They
  would apparently text Ms. Humpheries's mother to let her know
  that her daughter was doing well.


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  While they were in            , the trio celebrated Easter with Ms.
  Humpheries family. Ms. Humpheries recalled that Ms. Button
  and Mr. Moore "wanted to do drugs in church." She said that
  Ms. Button and Mr. Moore got drunk at Easter dinner and kept
  feeding her drinks in an effort to get her drunk. After dinner, the
  trio decided to go to a beach house/office which Ms. Humpheries
  said that her father used as an office. Ms. Humpheries said that
  her mother encouraged the group to take Ms. Humpheries
  brother to the beach house with them. She said that Ms. Button
  and Mr. Moore vehemently opposed bringing Ms. Humpheries
  brother and ultimately he was left behind. Ms. Humpheries said
  that her mother questioned why the group did not want to take
  her son with them but ultimately lost the argument.

  Ms. Humpheries said that as soon as they walked inside of the
  beach house/office, Ms. Button turned around and began to kiss
  her passionately. She said that Ms. Button made comments to
  her at that point like, "I have been wanting to do that for so long"
  and "You have such a great body". Ms. Humpheries recalled that
  Mr. Moore asked her if what was happening was acceptable. She
  recalled thinking that the couple must have just been swingers
  and justified the interaction in that manner. Ms. Humpheries
  was clear that there was no sexual intercourse between anyone at
  the beach house but did say that they all took their clothes off
  and the three of them kissed a lot. They all apparently stayed on
  a pullout couch at the beach house and her father walked in an
  found them all in bed together the next morning. Ms.
  Humpheries said that she was embarrassed by what her father
  had seen and they all flew back to Boston that night.

  Ms. Humpheries said that after the evening in the beach house,
  Ms. Button and Mr. Moore became extremely touchy with her.
  They wanted her to skip work again when the arrived home from
            which she did initially. Ms. Humpheries said that she
  eventually received a call from the ballet mistress about not
  attending work. She decided that it was in her best interest to
  attend work despite Ms. Button and Mr. Moore's protests.

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  Ms. Humpheries said that while she was at work, she received
  text messages from Ms. Button and Mr. Moore. She said that
  they asked her if they could stay at her home in the
           on that particular evening. Ms. Humpheries ultimately
  invited Ms. Button and Mr. Moore to her home where they
  consumed alcohol. Ms. Humpheries said that she was sweaty
  from work and went to take a shower. She claimed that Ms.
  Button and Mr. Moore followed her into the bathroom and
  opened the curtain. Ms. Humpheries stated that Ms. Button
  said, "So we've been thinking that we want you to be our
  girlfriend." She said that she was caught off guard by this and
  didn't fully understand what they were asking. She said that she
  did agree to their request because she didn't know what else to
  do. According to Ms. Humpheries, she kissed Ms. Button and
  Mr. Moore in the shower and there may have been some
  "touching" but there was no sexual intercourse on that occasion.

  On the night following the incident in the shower, Ms.
  Humpheries allegedly went back to Ms. Button and Mr. Moore's
  apartment. She had been invited there for what they called "Sage
  Night". This had been presented to her as a celebratory occasion
  for having agreed to be the couple's girlfriend. Ms. Humpheries
  stated that she went to Ms. Button and Mr. Moore's apartment
  that evening after work and found candles lit. Ms. Button told
  her to take a shower which she said that she did. Ms.
  Humpheries claimed that Ms. Button was waiting outside of the
  shower with a black latex body suit of some kind and ordered her
  to put it on. She said that she put on the suit and it covered her
  mouth. She also claimed that she was blindfolded once she was
  wearing the latex suit.

  At some point, Mr. Moore emerged and she told him that she
  was scared. Ms. Humpheries said that she was eventually led to
  the guest room which the couple had deemed "the gun
  room" (this was because there were several seemingly real
  firearms attached to the walls). She said that once they were

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  inside of the room that she was told to lay on a table. Her arms
  and legs were allegedly bound to the table and someone moved
  the crotch of the body suit to the side and penetrated her
  digitally. She believed that she had been penetrated for
  approximately thirty seconds and then recalled that the touching
  stopped. Ms. Humpheries said that she suddenly recalled
  hearing Ms. Button and Ms. Moore having sex next to her. She
  said that when she heard this she started to cry hysterically.

  Ms. Humpheries said that she was eventually released and told
  Ms. Button and Mr. Moore that what happened was not what she
  had "signed up for." She said that neither Ms. Button or Mr.
  Moore apologized to her. She said that she remained upset for
  quite a while and that the couple eventually got annoyed with her
  and told her to get over it.

  Ms. Humpheries said that on the day following the incident with
  the body suit she returned to Ms. Button and Mr. Moore's
  apartment. She said that Ms. Button told her that she wanted
  her to have sex with Mr. Moore. Ms. Humpheries said that they
  sat on the couch and watched a movie when Mr. Moore suddenly
  started kissing her. Ms. Humpheries recalled that Ms. Button
  was touching her husband sexually and stated, "This is the
  moment". Ms. Button then apparently told Ms. Humpheries to
  get on top of Mr. Moore. Ms. Humpheries said that she got on
  top of Mr. Moore and engaged in sex with him but began to cry.
  She said she was crying because she was afraid and sad but told
  Ms. Button and Mr. Moore it was because she loved them so
  much. Ms. Humpheries said this was a way of justifying what
  was happening to her in her mind.

  Ms. Humpheries stated that after the evening in the shower, she
  felt like she became Ms. Button and Mr. Moore's property. She
  felt as if they were in charge of her life based on how they spoke
  to her. Ms. Humpheries informed me that there were
  established rules about being the girlfriend of Ms. Button and
  Mr. Moore. She was not allowed to talk to any males whatsoever

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  including people such as Uber drivers. Her cellular telephone
  was allegedly monitored by Mr. Moore. She was not allowed to
  text or call anyone that he did not know. Mr. Moore took over
  Ms. Humpheries social media claiming he would be her
  manager. Ms. Humpheries said that she had to have sex with
  Mr. Moore whenever he wanted even if she did not feel like it.
  She also said that Ms. Button would be there a lot when she
  would have sex with Mr. Moore. Mr. Moore apparently would
  not allow her to interact with Ms. Button during sex. Ms.
  Humpheries recalled a time where Mr. Moore threatened to
  divorce Ms. Button for engaging with Ms. Humpheries sexually.
  She was also forced to wear certain clothing which belonged to
  Ms. Button which was generally baggy because Mr. Moore did
  not want Ms. Humpheries to wear anything that was too
  revealing. Ms. Humpheries made it clear that she learned the
  rules after breaking one and was punished.

  After the first time that Ms. Humpheries had sex with Mr.
  Moore, she witnessed numerous fights between Ms. Button and
  Mr. Moore. Ms. Humpheries said that they would get mad at
  each other over who was getting more of her attention. She
  recalled seeing domestic abuse between the couple which
  included "clawing" and throwing things at each other. Ms.
  Humpheries said that she always feared Mr. Moore would hit her
  or Ms. Button. It became expected that Ms. Humpheries and Mr.
  Moore would have sex regularly and she remembered that he had
  a "choking fetish" which had caused bruising on her neck. Ms.
  Humpheries said that there was a pattern during sex with Mr.
  Moore. She said that he would generally start with Ms. Button
  and finish with her.

  Ms. Humpheries told me about a weekend where Ms. Button
  went away by herself. She said that during this weekend, she
  (Ms. Humpheries) made plans with a friend. Ms. Humpheries
  said that Mr. Moore became extremely upset about her
  rendezvous with her acquaintance and made her feel extremely
  bad about it. She said that she felt so bad that she eventually

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  went back to the Assembly Row apartment where Mr. Moore
  scolded her for an extended period of time. Ms. Humpheries
  said that Mr. Moore asked her to sleep there with him to make
  up for her previous engagement with a friend. She recalled
  giving Mr. Moore oral sex on that occasion to make up for what
  had happened and also remembered that he was still mad at her
  afterward.

  On one evening, Ms. Humpheries recalled that Mr. Moore and
  Ms. Button got into an extremely heated altercation. She said
  that she became uncomfortable with the argument as she
  witnessed it from the couch in the couple's apartment. Ms.
  Humpheries said that she went to take a shower while they
  argued and Mr. Moore eventually interrupted. Ms. Humpheries
  said that Mr. Moore forced his way into the shower, bent her
  over and raped her. She recalled that he never said a word while
  the rape was occurring and walked out of the shower when he
  finished.

  Ms. Humpheries said that at some point her parents realized
  something was wrong. She said that she and her mother are very
  close and she began to communicate with her less and less. Her
  great grandmother died and Ms. Button and Mr. Moore would
  not allow her to go to         for the services. Ms.
  Humpheries said that when the ballet ended for summer break
  that Ms. Button and Mr. Moore pressured her into going to
  Australia. They did not want her to go home to            for the
  summer and told her to stop communicating with her mother
  because she did not understand or support their relationship.

  A week or two prior to Ms. Humpheries 2017 summer break
  from the ballet, her parents unexpectedly showed up to her show.
  During this time frame, Ms. Button had apparently been fired
  from the ballet. Ms. Humpheries said that her parents wanted to
  spend time with her but Ms. Button and Mr. Moore forbid her to
  do so. On that same night she stayed with Ms. Button and Mr.
  Moore who she said provided a "security briefing". They

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  allegedly asked Ms. Humpheries if she knew what to do if she
  was separated from them. Ms. Humpheries said that they made
  her memorize their phone numbers and had her say the number
  out loud until she could remember it. Ms. Button and Mr. Moore
  allegedly told Ms. Humpheries to find a phone and call them if
  anyone tried to take her away. Ms. Humpheries felt that Ms.
  Button and Mr. Moore somehow sensed that her parents had
  come to Massachusetts to save their daughter.

  On the following day, Ms. Humpheries had breakfast with her
  parents. She said that her parents then met with the Director of
  the ballet (Mr. Tony Randazzo) privately. The Director
  apparently informed Ms. Humpheries parents about what was
  happening with Ms. Button and Mr. Moore. Ms. Humpheries
  said that she reported to the ballet that evening for a show and
  found her parents were waiting with Mr. Randazzo. Mr.
  Randazzo apparently told Ms. Humpheries that she was being
  dismissed from the ballet for the last week and a half of
  performances so that she could return home to               with
  her parents to seek counseling and to visit her grandfather who
  was ill.

  Ms. Humpheries said that she immediately called Ms. Button
  upon learning of her early dismissal from the ballet. She told Ms.
  Button what had happened at said that she was returning to
            . Ms. Humpheries said that Ms. Button and Mr. Moore
  were screaming into the phone and telling her not to get on the
  plane. She said that she eventually hung up and received
  numerous text messages from Ms. Button and Mr. Moore. Ms.
  Humpheries said that someone eventually took her phone away
  and she did not see it again.

  Ms. Humpheries described a somewhat dramatic exit from the
          area after she was dismissed from the ballet. She said
  that her parents had a car waiting for her at the ballet which took
  her to the airport. Ms. Humpheries said that she protested
  leaving and didn't want to go to           . Her parents

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  eventually reasoned with her and she agreed to fly home with
  them. Ms. Humpheries said that she felt ill, as if she was
  withdrawing, on the trip to          .

  When Ms. Humpheries got to               , she obtained counseling
  and started to realize that she had been brainwashed by Ms.
  Button and Mr. Moore. She said that she told both her therapist
  and her mother about the time that Mr. Moore had raped her in
  the shower at one of these sessions.

  Ms. Humpheries admitted that she had limited communication
  with the couple by using her brother's cellular telephone and the
  Snapchat application while in             . Ms. Humpheries said
  that she asked Mr. Moore through the application about what he
  would do to her if they were together again. She claimed that
  Mr. Moore replied to her question by saying, "I would kidnap you
  and you would not know that time and place. I would throw you
  in the back of my car with a blindfold, tie you up and take you to
  a rented warehouse where I would suspend you from the ceiling,
  fuck you until you were uncomfortable and choke you with a rag
  until you pass out." Ms. Humpheries said it was especially
  chilling when she saw Ms. Button refer to a warehouse during an
  interview she saw on Youtube. She felt like this comment was
  meant to scare her.

  Ms. Humpheries said she was extremely fearful of Mr. Moore
  after receiving the message. She claimed that she attempted to
  cut off communication with both Ms. Button and Mr. Moore.
  Ms. Humpheries said that her fear increased when she realized
  that Ms. Button and Mr. Moore had come to               . Ms.
  Humpheries said she noticed that after she had been in a
  recognizable area in           and posted the location on her
  social media that Ms. Button and Mr. Moore would post from the
  same location within minutes. She felt as if they were following
  her.

  Ms. Humpheries eventually returned to the                    area and

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  obtained restraining orders against Ms. Button and Mr. Moore.
  She claimed that the harassment ceased shortly after they had
  been served with the orders. Ms. Humpheries told me that the
  order was extended at a subsequent hearing which Ms. Button
  and Mr. Moore attended. She said that the couple eventually
  moved to            and she has not seen them.

  During our interview, Ms. Humpheries said that she believed
  there were more people who Ms. Button and Mr. Moore harmed
  in the same manner as her and provided us with the names of a
  few. One person lives in            and the rest live in other
  states. The Family Services Unit will be following up with several
  witnesses from a list that Ms. Humpheries provided.

  Ms. Humpheries said that she will be providing me with an
  electronic device containing text messages and other evidence in
  the near future. This evidence is in          and Ms.
  Humpheries is attempting to have it shipped to Massachusetts. I
  will examine the evidence upon receipt.

  Respectfully submitted,

  Sergeant Michael Perrone #296

  OFFICER SIGNATURES


  Reporting Officer:   __________________________________    Date:   _____________________
                       PERRONE, M              296
  Reviewing Officer:   __________________________________    Date:   _____________________
                       RYMILL G                206
  Approving Officer:   __________________________________    Date:   _____________________
                       DIPAOLO, M              95120




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